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 6
 7                          IN THE UNITED STATES DISTRICT COURT
 8                       FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10   UNITED STATES OF AMERICA,                           ) CASE NO. 1:10-CR-00176 OWW
                                                         )
11                          Plaintiff,                   ) STIPULATION AND ORDER TO
                                                         ) TERMINATE OUTPATIENT DRUG
12          v.                                           ) TREATMENT
                                                         )
13   CHARLES EDWARD KLAUS,                               )
                                                         )
14                          Defendant.                   )
                                                         )
15                                                       )
16          Defendant Charles Klaus has been attending and participating in an outpatient drug treatment
17   program, which he has completed. The Defendant’s drug treatment counselor is in agreement to
18   successfully terminate his participation in outpatient drug treatment, and Pretrial Services is not
19   opposed to the modification.
20          The parties stipulate, agree and request the Court adopt the parties’ stipulation as the Order
21   of the Court and vacate the following conditions: The Defendant shall participate in a program of
22   medical or psychiatric treatment, including treatment for drug and/or alcohol dependency, and pay
23   for costs as approved by the Pretrial Services Officer.
24          The parties stipulate that random drug testing would continue to be in effect.
25          The parties stipulate that all prior ordered conditions of release, not in conflict, remain in full
26   force and effect.
27   //
28   //
              Case 1:10-cr-00176-AWI Document 69 Filed 06/16/11 Page 2 of 2


 1   Dated: June 15, 2011                      /s/ Robert A. Cassio
                                               ROBERT A. CASSIO
 2                                             Attorney for Defendant
                                               CHARLES EDWARD KLAUS
 3
 4   Dated: June 15, 2011                      /s/ Elana S. Landau
                                               ELANA S. LANDAU
 5                                             Assistant United States Attorney
                                               This was agreed to by Ms. Landau
 6                                             via email on June 15, 2011
 7
 8   IT IS SO ORDERED.
 9   Dated: June 16, 2011                    /s/ Oliver W. Wanger
     emm0d6                             UNITED STATES DISTRICT JUDGE
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